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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


 JOHN ENRIQUEZ TAYLOR-RIVERS,

          Petitioner,

 v.                                                      Case No: 8:13-cv-670-T-30MAP
                                                           Crim. No: 8:11-cr-631-T-30MAP
 UNITED STATES OF AMERICA,

          Respondent.


                                         ORDER

          THIS CAUSE comes before the Court upon the Petitioner’s Motion to Vacate, Set

 Aside, or Correct Sentence, Pursuant to 28 U.S.C. § 2255 (Dkt. #1), Respondent’s

 Response (Dkt. #4), and Petitioner’s Reply (Dkt. #5). Petitioner Taylor-Rivers asks for

 his conviction to be vacated claiming that this Court lacked jurisdiction and that his

 lawyer was ineffective for not making this argument. The motion is based on, and is

 inspired by, a misreading of United States v. Bellaizac-Hurtado, 700 F. 3d 1245 (11th Cir.

 2012).

          In Bellaizac-Hurtado, the Eleventh Circuit held that Congress did not have the

 power to criminalize conduct in foreign countries and their territorial waters. Bellaizac-

 Hurtado specifically addressed the drug laws of the Maritime Drug Law Enforcement

 Act (MDLEA), 46 U.S.C. § 7501 et seq.. The United States recognizes territorial seas of

 foreign nations up to twelve nautical miles adjacent to foreign coasts. See U.S. v.

 McPhee, 336 F. 3d 1269, 1273 (11th Cir. 2003). Seas beyond the twelve nautical miles



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 from a foreign coast are international waters. The MDLEA is constitutional as applied to

 defendants apprehended in international waters. U. S. v. Tinoco, 304 F. 3d 1088 (11th

 Cir. 2002), cert. denied, 538 U.S. 909, 123 S. Ct. 1484 (2003).

        Defendant was apprehended in international waters, not territorial seas.

 Commander Daniel Deptula, United States Coast Guard, in his official capacity as the

 Coast Guard Liaison Officer to the Bureau of International Narcotics and Law

 Enforcement Affairs, U. S. Department of State, certified the following facts:

               a.     On December 2, 2011, United States law enforcement
        personnel interdicted the fishing vessel MR. GEO (Official No. 1828294)
        approximately 55 nautical miles east of Gorda Cay, Honduras, in
        international waters. . .

               b.    . . . United States Coast Guard law enforcement personnel
        recovered 65 bales (approximate weight of 2,039 kilograms) of suspected
        contraband from international waters which tested positive for cocaine.

               c.     . . . Honduras . . . waived its primary right to exercise
        jurisdiction over the MR GEO (Official No. 1828294), its cargo and crew.

 CR Dkt. #141 at 3 (certification).

        After this certification, Defendant pled guilty and admitted the following facts in

 his plea agreement (Dkt. #146):

               9.     Factual Basis

               Defendant is pleading guilty because defendant is, in fact, guilty.
        The defendant certifies that defendant does hereby admit that the facts set
        forth below are true, and were this case to go to trial, the United States
        would be able to prove those specific facts and others beyond a reasonable
        doubt:




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                                          FACTS

              On or about December 2, 2011, the defendant, John Enriquez
       Taylor-Rivers, along with sixteen co-defendants, was aboard the fishing
       vessel MR GEO encountered by the USS OAK HILL in the western
       Caribbean Sea. As the USS OAK HILL came on the scene, defendants
       aboard the MR GEO jettisoned bales of cocaine into the water.

                     On questioning by U. S. Coast Guard law enforcement
       personnel embarked on the USS OAK HILL, the captain of the MR GEO
       claimed Honduran nationality for the vessel. The U. S. Coast Guard
       contacted the government of Honduras, which confirmed the claim of
       nationality and granted the United States permission to board and search
       the MR GEO.

                     Meanwhile, U. S. Coast Guard and Navy personnel recovered
       sixty-five (65) of the jettisoned bales of cocaine from the water. The
       recovered cocaine weighed in excess of two thousand (2,000) kilograms.
       The defendant, along with his co-defendants, knew the cocaine was on
       board the vessel and was assisting in its transportation for later distribution.
       The packaging of the bales was typical of narcotics packaged for at-sea
       transport and later distribution. Testing later verified that the substance
       contained in the bales was in fact cocaine, a Schedule II controlled
       substance.

       Bellaizac-Hurtado does not apply to Defendant because he was not located within

 the territorial seas of a foreign country and his lawyer performed reasonably in not

 making a meritless argument. It is therefore

       ORDERED AND ADJUDGED that:

       1.     Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence, Pursuant to

 28 U.S.C. § 2255 (Dkt. #1) is DENIED.

       2.     The Clerk is directed to close this case.

       3.     The Clerk is directed to terminate the pending motion to vacate, set aside or

 correct sentence (CR Dkt. #451) in the related criminal case (8:11-cr-631-T-30MAP).



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                     CERTIFICATE OF APPEALABILITY AND LEAVE TO
                          APPEAL IN FORMA PAUPERIS DENIED

         IT IS FURTHER ORDERED that Petitioner is not entitled to a certificate of

 appealability. A prisoner seeking a writ of habeas corpus has no absolute entitlement to

 appeal a district court’s denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district

 court must first issue a certificate of appealability. Id. “A certificate of appealability

 may issue … only if the applicant has made a substantial showing of the denial of a

 constitutional right.” Id. at § 2253(c)(2). To make such a showing, Petitioner “must

 demonstrate that reasonable jurists would find the district court’s assessment of the

 constitutional claims debatable or wrong,” Tennard v. Dretke, 542 U.S. 274, 282 (2004)

 (quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)), or that “the issues presented were

 ‘adequate to deserve encouragement to proceed further.’” Miller-Elv v. Cockrell, 537

 U.S. 322, 335-36 (2003)(quoting Barefoot v. Estelle, 463 U.S. 880, 893 n. 4 (1983)).

 Petitioner has not made the requisite showing in these circumstances.

         Finally, because Petitioner is not entitled to a certificate of appealability, he is not

 entitled to appeal in forma pauperis.

         DONE and ORDERED in Tampa, Florida, this 12th day of July, 2013.




 Copies furnished to:
 Counsel/Parties of Record
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